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Case 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page1of42 Page ID #:21651

ATTACHMENT A/FACTUAL BASIS

 

A. The CD-14 Enterprise

 

1. Throughout the period described in the First Superseding
Tndictment, the Council. District 14 Enterprise (“CD-14 Enterprise”),
located in the City of Los Angeles (“the City”), was a criminal
enterprise composed of a group of individuals associated for a common
purpose of engaging in a course of conduct, which course includes
bribery, mail and wire fraud, including through the deprivation of
the honest services of City officials and employees, extortion,
interstate and foreign travel in aid of racketeering enterprises,
money laundering, structuring transactions to evade reporting
requirements, and obstruction of justice, to achieve the goals of the
enterprise. The CD-14 Enterprise constituted an ongoing organization
whose members functioned as a continuing unit for a common purpose of
achieving the objectives of the enterprise. The goals of the CD-14
Enterprise included, but were not limited to:

a. enriching the members and associates of the CD-14
Enterprise through means that included bribery, extortion, and mail
and wire fraud, including through the deprivation of the honest
services of City officials and employees;

b. advancing the political goals and maintaining the
control and authority of the CD-14 Enterprise by elevating members
and associates of the CD-14 Enterprise to, and maintaining those
individuals’ placement in, prominent elected office, through means
that included bribery and mail and wire fraud, including through the

deprivation of the honest services of City officials and employees;

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(Case 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 2of42 Page ID #:21652

ATTACHMENT A/FACTUAL BASIS

c. concealing the financial activities of the CD-14
Enterprise, through means that included money laundering and
structuring; and

d. protecting the CD-14 Enterprise by concealing the
activities of its members and associates and shielding the CD-14
Enterprise from detection by law enforcement, the City, the public,
and others, through means that included obstructing justice.

2. Defendant JOSE HUIZAR, Councilmember for CD-14, who had
jurisdiction over hundreds of development projects undergoing the
application and approval process in the City, was a leader and member
of the CD-14 Enterprise. Members and associates of the CD-14
Enterprise also consisted of lobbyists, consultants, and other City
officials and staffers, who sought to personally enrich themselves
and their families and associates through a pay-to-play scheme within
the City, wherein public officials demanded and solicited financial
benefits from developers and their proxies in exchange for official
acts.

a. Specifically, through the bribery scheme, defendant
HUIZAR, RAYMOND CHAN, GEORGE ESPARZA, and other City officials
demanded, solicited, accepted, and agreed to accept from developers
and their proxies, some combination of the following types of
financial benefits, among others: (1) cash; (2) consulting and
retainer fees; (3) favorable loans; (4) gambling chips at casinos;

(5) political contributions; (6) flights on private jets and
commercial airlines; (7) stays at luxury hotels; (8) expensive meals;
(9) spa services; (10) event tickets to concerts, shows, and sporting

events; (11) escort and prostitution services; and (12) other gifts.

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ATTACHMENT A/FACTUAL BASIS

 

b. Members and associates of the CD-14 Enterprise
conspired with one another to facilitate bribery schemes that would
provide defendant HUIZAR and other City official allies financial
benefits and keep defendant HUIZAR and his allies in power and
maintain the CD-14 Enterprise’s political stronghold in the City.
This bribery included members and associates of the CD-14 Enterprise
raising and soliciting funds from developers and their proxies with
projects in CD-14 to be paid to defendant HUIZAR’s desired accounts
and Political Action Committees (“PACS”), including to benefit
HUIZAR’s Relative 1’s campaign for the CD-14 seat.

Cc. In exchange for such financial benefits from
developers and their proxies, defendant HUIZAR, CHAN, ESPARZA, and
other City officials agreed to perform and performed the following
types of official acts, among others: (1) presenting motions and
resolutions in various City committees to benefit projects; (2)
voting on projects in various City committees, including the PLUM
Committee, and City Council; (3) taking, or not taking, action in the
PLUM Committee to expedite or delay the approval process and affect
project costs; (4) exerting pressure on other City officials to
influence the approval and/or permitting process of projects; (5)
using their office to negotiate with and exert pressure on labor
unions to resolve issues on projects; (6) leveraging voting and
scheduling power to pressure developers with projects pending before
the City to affect their business practices; and (7) introducing or
voting on City resolutions to enhance the professional reputation and

marketability of businesspersons in the City.

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ATTACHMENT A/FACTUAL BASIS

3. As a result of its bribery, extortion, honest services
fraud, money laundering, and structuring conduct, throughout the
period described in the First Superseding Indictment, and as known to
defendant HUIZAR, CD-14 Enterprise members and associates engaged in,
and their activities in some way affected interstate and foreign
commerce.

B. Defendant’s Role in the CD-14 Enterprise

 

4. Beginning no later than February 2013, and continuing at
least until July 30, 2020, defendant HUIZAR was a leader of the CD-14
Enterprise. In that capacity, defendant HUIZAR conspired and agreed
with other CD-14 Enterprise members and close associates, including
CHAN, ESPARZA, GEORGE CHIANG, JUSTIN KIM, MORRIE GOLDMAN and others,
that a conspirator would commit at least two acts of the above-
described racketeering activity, which acts had a relationship to one
another and the CD-14 Enterprise, and posed a threat of continued
criminal activity. Defendant HUIZAR became a member of this
conspiracy knowing of this object, knowing it was illegal, and
intending to help accomplish it.

5. Also in furtherance of the racketeering conspiracy,
defendant HUIZAR facilitated and participated in at least the
following bribery schemes:

(a) L.A. Grand Hotel Bribery Scheme

6. In or around February 2013, CHAN, then the Interim General
Manager of the Los Angeles Department of Building and Safety,
introduced defendant HUIZAR and ESPARZA to WEI HUANG at a dinner in
Los Angeles, California. HUANG, a Chinese national and billionaire,

owned and was Chairman of Shen Zhen New World Group, which included

DEFT. INITIALS

 

 

(Case 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 4 of 42 Page ID #:21654 |

 

 

 
 

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ATTACHMENT A/FACTUAL BASIS

 

SHEN ZHEN NEW WORLD I, LLC (“SHEN ZHEN COMPANY”), one of China’s
leading real estate development companies. HUANG also owned the L.A.
Grand Hotel, located in CD-14, and the Sheraton Universal Hotel,
located in CD-4.

7. Between March 2013 and November 2018, HUANG, aided and
abetted by CHAN and others, provided financial benefits directly and
indirectly to defendant HUIZAR, in exchange for defendant HUIZAR’s
assistance to HUANG and SHEN ZHEN COMPANY in defendant HUIZAR’s
official capacity as a City Councilmember on an ongoing and as-needed
basis related to specific matters. Defendant HUIZAR, HUANG, CHAN,
and others established a mutually beneficial agreement to exchange a
stream of benefits for official acts and to further the CD-14
Enterprise’s goals.

(1) Benefits to defendant HUIZAR at Casinos

8. In March 2013, defendant HUIZAR, ESPARZA, HUANG, and
Executive Director E, an associate of HUANG and the Executive
Director of SHEN ZHEN COMPANY, traveled on a private jet to the Wynn
Hotel and Casino in Las Vegas, Nevada (the “March 2013 trip”).

9. During the March 2013 trip, defendants HUIZAR and ESPARZA
accepted financial benefits in the form of flights on private jets, a
stay in a luxurious five-bedroom villa at the Wynn casino, meals,
alcohol, and casino chips from HUANG. Specifically, defendant HUIZAR
accepted approximately $10,000 in casino gambling chips from HUANG.
ESPARZA accepted approximately $2,000 in casino gambling chips from
HUANG.

10. Between March 2013 and February 2017, defendant HUIZAR

traveled to Las Vegas casinos with HUANG on at least the following

DEFT. INITIALS

 

 

(Case 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 5 of 42 Page ID #:21655

 

 

 
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ATTACHMENT A/FACTUAL BASIS

 

 

dates, and accepted benefits in the form of expenses including

flights, hotel rooms, spa services, meals, alcohol, prostitution/

escort services, and casino gambling chips in the following

approximate amounts:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 March 22 - 24, 2013 Wynn $56,231 $10,000
2 December 30, 2013 - Wynn $53,293 $10,000
January 2, 2014
3 June 7 - 8, 2014 Palazzo | $61,635 $10,000
Wynn
4 June 14 - 15, 2014 Palazzo | $17,844 $10,000
Wynn
5 August 22 - 25, 2014 Palazzo $138,233 $13,500
6 March 13 - 14, 2015 Palazzo $30,953 $10,000
7 March 28 - 30, 2015 Palazzo $39,185 $10,000
8 May 1 - 3, 2015 Palazzo $2,676 __
9 July 7 - 8, 2015 Palazzo $32,683 $10,000
10 | October 28 - 30, 2015 | Cosmopolitan 896,772 $10,000
11 | December 11 - 13, 2015 Caesars $60,803 $10,000
12 | February 12 - 13, 2016 | Cosmopolitan 860,799 $10,000
13 | February 26 - 28, 2016 Caesars $40,095 $10,000
14 | April 30 - May 2, 2016 Cosmopolitan | $159,054 $10,000
| Palazzo
15 May 5 - 6, 2016 Caesars | $17,334 $10,000
Palazzo
1
16 May 13 - 16, 2016 Palazzo | $83,823 $10,000
Wynn
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(Case 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 7 of 42 Page ID #:21657

ATTACHMENT A/FACTUAL BASIS

 

 

 

 

 

 

 

 

 

17 July 13 - 16, 2016 Caesars 56,606 $10,000
18 August 5 - 7, 2016 Cosmopolitan $64,197 $11,000
19 | ganuary 29 - 31, 2017 | Caesars | $73,839 | $10,000
Palazzo
20 February 4 - 5, 2017 Caesars || $15,738 £10,000
Cosmopolitan

 

 

(2) Defendant HUIZAR Helps Save CHAN’s Job and then

Receives $600,000 from HUANG to Settle Defendant

HUIZAR’s Sexual Harassment Lawsuit During His

Reelection Campaign

11. On June 7, 2013, an administrative complaint was filed

against defendant HUIZAR by a former CD-14 employee. On October 17,
2013, the former CD-14 employee filed a civil sexual assault lawsuit
against defendant HUIZAR. Thereafter, defendant HUIZAR and CHAN
strategized on how to acquire funds to settle the lawsuit and save
defendant HUIZAR’s career. In return for defendant HUIZAR saving
CHAN’s job by preventing the consolidation of the Planning Department
and the LADBS, CHAN orchestrated and facilitated an arrangement
whereby HUANG provided $600,000 in collateral for defendant HUIZAR to
obtain a personal loan from East West Bank for $570,000 to pay the
sexual harassment settlement and legal fees. HUANG and defendant
HULZAR routed the money through various entities to disguise the
source of the funds. On September 26, 2013, defendant HUIZAR used
the money provided by HUANG to pay $600,000 to settle the suit with

the former CD-14 employee.

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Case 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 8 of 42 Page ID #:21658

ATTACHMENT A/FACTUAL BASIS

 

12. On December 12, 2018, after defendant HUIZAR failed to make
interest payments on the loan for three consecutive months, East West
Bank applied the collateral provided by HUANG to the amount defendant
HUIZAR owed on the loan, totaling $575,269, which meant that
defendant HUIZAR no longer had to pay this amount to the bank,
thereby enriching him in the amount of $575,269.

(3) Official Acts by Defendant HUIZAR

13. In exchange for the $600,000 collateral for defendant
HULZAR’s personal loan and during the time HUANG was also supplying
financial benefits to defendant HUIZAR, HUANG asked for a series of
benefits from defendant HUIZAR.

14. On May 17, 2013, an employee of SHEN ZHEN COMPANY emailed
ESPARZA requesting a “favor” from defendant HUIZAR on behalf of
HUANG, relating to a visa application for another SHEN ZHEN COMPANY
employee. Defendant HUIZAR complied with the request and signed a
letter on official letterhead addressed to the United States
Consulate General in Guangzhou, China, supporting a visa application
for the director of Finance for SHEN ZHEN COMPANY.

15. Between June 2013 and December 2013, HUANG, through CHAN,
enlisted defendant HUIZAR’s help to negotiate and resolve a parking
lot dispute with the owners of a plot of land adjacent to HUANG’s
property in CD-14, the L.A. Grand Hotel.

16. Between July 2013 and October 2013, HUANG asked for
defendant HUIZAR to arrange a meeting with the head of the labor
union, which had a dispute related to the L.A. Grand Hotel.

17. On April 23, 2014, to benefit HUANG’s reputation in the

business community, defendant HUIZAR introduced and signed a

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ATTACHMENT A/FACTUAL BASIS

 

resolution before the City Council recognizing HUANG for his
achievements and contributions to the economy of CD-14, which the
City Council signed and adopted.

18. On June 27, 2017, ESPARZA put a SHEN ZHEN COMPANY employee
in touch with a defendant HUIZAR staff member, to discuss and
facilitate resolving union issues at HUANG’s two hotels in Los
Angeles.

19. Most significantly, HUANG provided bribes to defendant
HUILZAR because, as the Chair of the PLUM Committee and CD-14
Councilmember, defendant HUIZAR was poised to significantly benefit
HUANG’s desire and plans to redevelop the L.A. Grand Hotel and
transform it into a 77-story skyscraper, making it the tallest
building west of the Mississippi River. This project would require
official acts from defendant HUIZAR at various stages of the City
approval process.

20. From January 1 - 10, 2016, HUANG provided defendant HUIZAR
an all-expense paid trip to Australia including a business class
flight worth more than $10,000 and $32,800 in Australian dollars.

21. On August 4, 2016, defendant HUIZAR, CHAN, senior officials
from the Planning Department, and senior CD-14 staff members met with
HUANG and his team to discuss the expansion of the L.A. Grand Hotel,
including HUANG’s interest in pursuing Transfer of Floor Area Rights,
Transient Occupancy Tax rebates, and other incentives from the City.

22. In or around August 2016, on a private jet flight returning
to Los Angeles from Las Vegas, HUANG requested defendant HUIZAR’s and
ESPARZA’s assistance in hiring a consultant on the L.A. Grand Hotel

Project. Defendant HUIZAR agreed to help.

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ATTACHMENT A/FACTUAL BASIS

 

23. On June 11, 2018, SHEN ZHEN COMPANY filed two applications
with the Planning Department to expand and redevelop the L.A. Grand
Hotel and the Sheraton Universal Hotel. According to the L.A. Grand
Hotel application, “[t]he Project will consist of a conversion of an
existing 13-story hotel to 224 apartment units with the addition of a
77-story tower that will provide 599 new hotel rooms, 242 condominium
units, 28,704 SF of commercial, & 36,674 SF of hotel amenities.” The
application listed four specific requested actions/entitlements: (1)
vesting tentative tract map; (2) specific plan project permit
compliance; (3) transfer of floor area of greater than 50,000 square
feet; and (4) master conditional use permit for on-site sale and
consumption of alcohol for 5 establishments. Each of these
entitlements required approvals in the PLUM Committee and City
Council.

24. In or around August 2018, HUANG provided defendant HUIZAR
an all-expense paid trip to a golf resort in Northern California,
including a round-trip on a private jet, accommodations, meals, and
other costs. During the trip and in the months thereafter, HUANG
agreed to support defendant HUIZAR Relative 1’s campaign for the CD-
14 seat, including by hosting a fundraiser in November 2018 and
pledging to raise or contribute $50,000 to benefit her campaign.

25. On or about November 7, 2018, defendant HUIZAR possessed
approximately $129,000 in cash hidden at his residence, which was
made up of cash derived from casino chips provided by Huang to
defendant HUIZAR along with cash defendant HUIZAR received from

Businessperson A.

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ATTACHMENT A/FACTUAL BASIS

(b) David Lee and 940 Hill Bribery Scheme

26. Between August 2016 and July 2017, DAE YONG LEE, also known
as “David Lee,” a real estate developer and majority owner of 940
HILL, LLC, agreed to provide a $500,000 cash bribe to defendant
HUIZAR, ESPARZA and JUSTIN KIM, in exchange for defendant HUIZAR’s
assistance on one of LEE’s development projects, the 940 Hill
Project. The 940 Hill Project was a planned 20-story residential
complex on the corner of Hill Street and Olympic Boulevard in CD-14.
The development was to contain 232 residential units and 14,000
square feet of commercial floor area.

27. On August 8, 2016, Labor Organization A, a labor
organization, filed an appeal (the “appeal”) with the Central Los
Angeles Area Planning Commission, requesting to “suspend all activity
to implement the [940 Hill Project] that requires City approval until
the project is brought into compliance with the requirements of CEQA
[California Environmental Quality Act] by correcting the deficiencies
identified in the appeal.” The appeal prevented the 940 Hill Project
from progressing through the rest of the City approval processes,
including approvals by the PLUM Committee and City Council.

28. On September 1, 2016, defendant HUIZAR, ESPARZA, and KIM
had dinner together and then visited a Korean karaoke establishment
in Los Angeles. During the karaoke meeting, KIM asked defendant
HUIZAR for assistance with the appeal on the 940 Hill Project, and
defendant HUIZAR agreed to help. KIM then called LEE and asked him
to join the group at karaoke, which LEE did.

29. On January 17, 2017, defendant HUIZAR, ESPARZA, KIM, and
LEE’s business associates met at defendant HUIZAR’s City Hall office

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ATTACHMENT A/FACTUAL BASIS

 

to discuss, among other things, the 940 Hill Project. During a
private meeting that included only defendant HUIZAR, ESPARZA, and
KIM, KIM again asked defendant HUIZAR for assistance with the appeal,
and defendant HUIZAR responded that he could help.

30. [Intentionally left blank.]

31. In approximately February 2017, ESPARZA conveyed to
defendant HUIZAR an offer of $500,000 cash from LEE for defendant
HUIZAR to resolve the appeal, on behalf of 940 HILL, as represented
by KIM to ESPARZA, to be split among defendant HUIZAR, ESPARZA, and
KIM.

32. In approximately February and March 2017, defendant HUIZAR
and ESPARZA discussed the appeal. Defendant HUIZAR instructed
ESPARZA to speak to Lobbyist C, a lobbyist for Labor Organization A
and a close associate of the Executive Director of Labor Organization
A. Defendant HUIZAR also discussed the appeal with Lobbyist C. At
some point, defendant HUIZAR conveyed to either ESPARZA or Lobbyist C
that defendant HUIZAR would oppose the appeal in the PLUM committee.
Subsequently, Lobbyist C communicated to defendant HUIZAR, through
ESPARZA, that Labor Organization A would drop its appeal on the 940
Hill Project. On March 2, 2017, Labor Organization A dropped its

appeal.

33. On March 14, 2017, defendant HUIZAR and ESPARZA met at
defendant HUIZAR’s residence. ESPARZA told defendant HUIZAR that LEE
had provided $400,000 in cash to date, and that LEE would provide the

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ATTACHMENT A/FACTUAL BASIS

 

remaining $100,000 later. ESPARZA stated that KIM had provided
$200,000 of that cash to ESPARZA. On two occasions, ESPARZA showed
defendant HUIZAR a liquor box filled with approximately $100,000 cash
(for a total of $200,000). Defendant HUIZAR told defendant ESPARZA
to hold on to and hide the money at ESPARZA’s residence until
defendant HUIZAR asked for it. Defendant HUIZAR told ESPARZA that
ESPARZA could have $100,000 of the $300,000 total amount defendant
HUIZAR expected to receive from LEE.

34. On December 28, 2017, defendant HUIZAR and ESPARZA met at
City Hall and, in defendant HUIZAR’s private bathroom, discussed
various topics, including ESPARZA’s interviews with the FBI, and the
cash bribe ESPARZA was holding for defendant HUIZAR. Specifically,
during that conversation, defendant HUIZAR stated: “I have a lot of
expenses now that with [HUIZAR Relative 1] running, [HUIZAR Relative
1] not going to be working anymore. I’m gonna need money. Um, that
is mine, right? That is mine.” Defendant HUIZAR was referring to
the $200,000 cash bribe payment from LEE via KIM that defendant
HUIZAR had asked ESPARZA to hide at ESPARZA’s residence. ESPARZA
affirmed the bribe money was for defendant HUIZAR. Defendant HUIZAR
and ESPARZA agreed to wait until April 1, 2018, for ESPARZA to
provide the $200,000 cash owed to defendant HUIZAR, to allow a
cooling off period after ESPARZA’s interviews with the FBI in hopes
that it would decrease the likelihood of law enforcement discovering
the cash.

(c) Luxe Hotel Bribery Schemes
(1) Early Corrupt Relationship with Hazens
35. On March 24, 2014, CHAN facilitated the introduction of

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ATTACHMENT A/FACTUAL BASIS

defendant HUIZAR to Chinese developer Fuer Yuan and Yuan’s
development company Hazens via an email to ESPARZA.

36. In August 2014, CHAN, at defendant HUIZAR’s direction,
helped resolve an American Disabilities Act (“ADA”) compliance issue
at the Hazens’ Luxe Hotel located in CD-14.

37. On September 19, 2014, at defendant HUIZAR's direction,
ESPARZA obtained and then forwarded to defendant HUIZAR an email from
Employee D that attached three Katy Perry concert tickets valued at
approximately $1,000 total for defendant HUIZAR and his family.

38. On November 4, 2014, CHAN sent a text message to defendant
HUIZAR, writing: “I will be having dinner with chairman [Fuer Yuan]
tonight. I also knew that you will have dinner with him Thursday. I
just want to touch base with you as to what George CHIANG and I
should tell him.”

39. On November 4, 2014, CHIANG sent an email to ESPARZA with
the subject line “HUIZAR Fundraising,” writing: “Can you get me in
touch with [defendant HUIZAR]? [Defendant CHAN] and I had dinner with
[Hazens] last night regarding pledging their support so I want to
discuss this to prepare the Councilman’s dinner with them this
Thursday.”

40. On November 26, 2014, defendant HUIZAR, ESPARZA, and CHIANG
met with Chairman Fuer Yuan and HUIZAR Relative 1 over dinner at the
Luxe Hotel, where defendant HUIZAR and Yuan discussed Hazens’s
support for defendant HUIZAR and defendant HUIZAR’s support for the
Luxe Hotel Project.

41. In September 2015, CHAN discussed with defendant HUIZAR and
CHIANG that CHAN was organizing meetings with various City

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ATTACHMENT A/FACTUAL BASIS

departments to help the Luxe Hotel Project and that the HAZENS
Chairman wanted to expedite City approvals on this project.

42. In approximately 2016, at a meeting that included defendant
HUIZAR, CHIANG, and Fuer Yuan, defendant HUIZAR asked CHIANG to relay
to Yuan that: (1) there was no need to involve the City’s Mayor in
the approval process of the Luxe Hotel Project because defendant
HUILZAR was the one in control of the PLUM committee; (2) the City’s
Mayor could not provide help to Yuan because it was defendant HUIZAR
who drove the project; and (3) as far as the success of the Luxe
Hotel Project was concerned, Yuan did not need anyone else in the
City but defendant HUIZAR.

(2) Consulting Fees in Exchange for Official Acts

43. On November 11, 2015, defendant HUIZAR, CHIANG, and ESPARZA
met with Fuer Yuan and General Manager D, the General Manager of the
Luxe Hotel Project, over dinner at a restaurant in Arcadia,
California. Defendant HUIZAR and Yuan discussed defendant HUIZAR's
support for the Luxe Hotel Project. In the same conversation,
defendant HUIZAR asked Yuan to hire one of defendant HUIZAR’s
associates, who later turned out to be HUIZAR Associate 1, on the
Luxe Hotel Project. Yuan told defendant HUIZAR to discuss the
details with General Manager D.

44. In December 2015, defendant HUIZAR and CHIANG had multiple
communications regarding Yuan’s agreement to hire HUIZAR Associate 1.
CHIANG told defendant HUIZAR that General Manager D would work with
defendant HUIZAR on retaining HUIZAR Associate 1.

45. On or about December 16, 2015, defendant HUIZAR caused
HUIZAR Relative 1 to meet with Fuer Yuan’s relative, who had traveled

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fase 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 16 of 42 Page ID #:21666

ATTACHMENT A/FACTUAL BASIS

 

to Los Angeles at General Manager D’s direction, to discuss an
arrangement whereby Yuan’s relative’s company would pay a company
affiliated with HUIZAR Associate 1, purportedly for real estate
advice.

46. In April 2016, defendant HUIZAR and CHIANG had several
communications confirming their plan to get the HUIZAR Relative
1/HUIZAR Associate 1 agreement with Hazens under way. On April 26,
2016, defendant HUIZAR confirmed his interest to CHIANG stating:
“Cool. The more I think about our project, the more I get excited
about it. Let’s meet every two weeks or so to see how things are
going.... I think it’1l be great!”

47. In May 2016, defendant HUIZAR caused Company A (HUIZAR
Associate 1 affiliated company) and Yuan’s relative’s company to
execute an agreement whereby Company A would purportedly “provide
marketing analysis for Real Estate and Land Development Opportunities
in the Greater Southern California Area in the total amount of
$11,000.00 per month for services rendered.” In reality, CHIANG
prepared the monthly marketing analysis reports and delivered them to
defendant HUIZAR, who then provided them to HUIZAR Associate 1, who
collected the $11,000 monthly retainer. Defendant HUIZAR, CHIANG,
and General Manager D understood that the monthly retainer payments
were intended to be and were in fact indirect bribe payments to
defendant HUIZAR in exchange for defendant HUIZAR’s official acts to
benefit the Luxe Hotel Project.

48. From May 31, 2016, to November 3, 2016, CHIANG delivered to
defendant HUIZAR six real estate reports that were intended to be
passed off as being created by Company A pursuant to its $11,000 per

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jase 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 17 of 42 Page ID #:21667

ATTACHMENT A/FACTUAL BASIS

month consulting agreement with Fuer Yuan’s relative. During this
same time period, defendant HUIZAR delivered to HUIZAR Associate 1
these six real estate reports and HUIZAR Associate 1 then
subsequently caused Company A to collect $11,000 from Yuan’s
relative’s company each month (for a total of $66,000) asa
consulting fee for the reports.

(3) Official Acts by Defendant HUIZAR

49. On November 22, 2016, defendant HUIZAR presented a written
motion in the Economic Development committee to benefit the Luxe
Hotel Project.

50. On December 13, 2016, defendant HUIZAR voted “yes” in the
City Council to adopt the Luxe Hotel Project motion defendant HUIZAR
had presented.

51. On December 13, 2016, after the City Council vote,
defendant HUIZAR and CHIANG met with General Manager D at the Luxe
Hotel to discuss the Luxe Hotel Project and defendant HUIZAR’s
agreement to expedite the project going forward.

(4) Additional Benefits from CHIANG for Defendant
HUIZAR’s Official Acts

52. In or around April 2017, at defendant HUIZAR’s request,
CHIANG organized and coordinated a trip for defendant HUIZAR and his
family members to visit Fuer Yuan in China, including paying
approximately $500 for visa fees and arranging for transportation for
defendant HUIZAR and his family in Hong Kong.

53. Between April 15, 2017 and April 23, 2017, when defendant
HUIZAR and his family visited Fuer Yuan in Hong Kong and China,
defendant HUIZAR and his family members accepted benefits valued at

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ATTACHMENT A/FACTUAL BASIS

 

approximately $1,400 from Yuan, including for certain transportation,
meals, and lodging.

54. On April 27, 2017, at defendant HUIZAR’s request, CHIANG
provided concert tickets to defendant HUIZAR worth approximately
$1,572 total.

55. On May 2, 2017, in a telephone call, CHIANG and ESPARZA
discussed the mutually beneficial financial relationship between
Chinese developers and defendants HUIZAR and CHAN. Specifically,
ESPARZA told CHIANG: “Looking from your perspective, you bank on
[CHAN], and [defendant HUIZAR]’s office to do, one of the main points
with [defendant HUIZAR], for your Chinese clients for example,
‘entitlements, PLUM,’ you got to use that and we gotta keep making
his motherfucking, him happy.”

56. On May 19, 2017, at defendant HUIZAR’s request, CHIANG paid
approximately $1,000 for alcohol for a party for a HUIZAR relative.

57. On June 19, 2017, at defendant HUIZAR’s request, CHIANG
provided concert tickets to defendant HUIZAR worth approximately
$1,670.

58. On June 22, 2017, during a telephone call, CHAN and CHIANG
discussed defendant HUIZAR’s request for benefits from CHIANG.
Specifically, CHIANG explained that defendant HUIZAR asked him to
coordinate a trip to Cuba for defendant HUIZAR. Defendant CHAN then
asked: “So he just wanted you to do what, to ... pay for all the
trips, is that what he wants?” CHIANG then stated that defendant
HUIZAR would have to get special visas and explained that this would
risk potentially exposing their corrupt relationships: “I told
[HUIZAR], I said look, we’re all gonna be on record and if something

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ATTACHMENT A/FACTUAL BASIS

happens, everything, everyone’s dead.”

59. On August 24-25, 2017, CHIANG asked for defendant HUIZAR's
help on the Luxe Hotel Project.

60. On September 1, 2017, at CHIANG’s request, defendant HUIZAR
presented a written motion in the PLUM committee to benefit Hazens,
allowing the Luxe Hotel Project to move forward with its application
and approval process before the CPC and City Council.

61. On September 14, 2017, defendant HUIZAR confirmed that he
and his office exerted pressure on other City officials, writing to
CHIANG in a text message: “Congrats. Yeah we [CD-14 office] were
calling mayors office to tell his commission to calm down. It’s
expected from cpc they throw a lot of junk at projects these days.
Not over but make sure u relay to chairman [Fuer Yuan] that we were
helpful.”

62. On September 14, 2017, in a telephone call, defendant
HUIZAR told CHIANG: “You know, whatever it was, we’ll fix it in
PLUM.... Did the boss [Fuer Yuan], you call the boss already? ... Did
you tell him that my office was helpful?” CHIANG responded: “I told
[Yuan] everything.” Defendant HUIZAR then stated: “Okay, cool, cool,
cool. Good, good.... Do we have a schedule for PLUM already?”

63. In or around November 2017, defendant HUIZAR asked CHIANG
to make a commitment on behalf of Hazens to contribute $100,000 to
HUIZAR Relative 1’s campaign in exchange for continued favorable
official acts by defendant HUIZAR to benefit the Luxe Hotel Project.
CHIANG, on behalf of Hazens, told defendant HUIZAR he could confirm
Fuer Yuan’s commitment of $100,000 to a PAC.

64. On December 5, 2017, defendant HUIZAR voted to approve the

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ATTACHMENT A/FACTUAL BASIS

 

Luxe Hotel Project in the PLUM Committee.

65. On January 24, 2018, defendants HUIZAR and CHAN and CHIANG
met with Fuer Yuan and HUIZAR Relative 1 for dinner at Yuan’s hotel
in San Gabriel, California, where Yuan pledged his commitment and
support for HUIZAR Relative 1’s campaign for the CD-14 seat.

66. On March 9, 2018, defendant HUIZAR submitted a resolution
in the PLUM Committee to benefit Hazens, allowing the Luxe Hotel
Project to move forward in its approval process.

67. In March and April 2018, defendant HUIZAR and CHIANG met at
defendant HUIZAR’s residence to discuss defendant HUIZAR’s continued
support for the Luxe Hotel Project in exchange for Hazens’s agreement
to contribute $100,000 to a PAC to benefit HUIZAR Relative 1's
campaign.

68. On May 18, 2018, defendants HUIZAR and CHAN met with CHIANG
for breakfast at a restaurant in Boyle Heights, where defendant
HUIZAR stated that he needed the PAC contribution as soon as possible
and that he wanted the contribution now so that when HUIZAR Relative
1 announced her candidacy, she would have money to pour into the
campaign and scare other potential candidates from running against
her. Defendant HUIZAR stated that other developers already
contributed in amounts of $50,000, $100,000, and $200,000. CHAN and
CHIANG told defendant HUIZAR that Hazens agreed to his request and
would contribute $100,000 to the PAC after HUIZAR Relative 1’s formal
announcement in September 2018.

69. On June 12, 2018, defendant HUIZAR voted in the City
Council to approve the Development Agreement for the Luxe Hotel
Project, and wrote to CHIANG in a text message: “Da [Development

DEFT. INITIALS
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ATTACHMENT A/FACTUAL BASIS

 

Agreement] for [Hazens] just passed council today. Does that mean
project has been fully entitled? Is that our last vote?”

70. On June 18, 2018, defendant HUIZAR wrote to CHIANG in a
text message: “When is the chairman [Fuer Yuan] coming in to town? We
need to finalize pac stuff. Thanks.”

71. On or about July 9, 2018, CHAN created a document titled
“Synergy/CCC Action Items,” to document, among other things, the
political contributions he had solicited for and promised to
defendant HUIZAR. Defendant CHAN included the following entry under
a subsection titled “[Hazens] - Chairman Yuan”: “PAC (After
announcement in Sep ([talked to] JH [JOSE HUIZAR] 5/18) ) / Nonprofit
([wait for] Yuan’s arrival ([talked to] JH [JOSE HUIZAR] 5/18))."

72. On July 30, 2018, after the ordinance authorizing the
execution of the Development Agreement for the Luxe Hotel Project
went into effect, defendant HUIZAR wrote to CHIANG in a text message:
“any news on when [Fuer Yuan] is coming in to town? Hoping to catch
dinner with him and talk about [HUIZAR Relative 1] campaign.” CHIANG
responded: “Hi Boss, [CHAN] is working on it. I let you know after I
see him in office tomorrow.”

(d) Mateo Project Bribery Scheme
(1) $25,000 Contribution to PAC B

73. On August 18, 2016, defendant HUIZAR met with GOLDMAN and
Executive M at defendant HUIZAR’s City Hall office to discuss
developer Carmel Partner’s Mateo Project. At the meeting, GOLDMAN
and Executive M asked defendant HUIZAR to file a motion to initiate a

General Plan Amendment for Mateo Project. Defendant HUIZAR agreed to

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G@ase 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 22 of 42 Page ID #:21672

ATTACHMENT A/FACTUAL BASIS

 

initiate the General Plan Amendment, either by exerting pressure on
the Planning Department to do so or by filing a motion.

74. On or about August 26, 2016, defendant HUIZAR and his staff
urged the Planning Department to approve the General Plan Amendment
initiation for Mateo Project, which the Planning Department did.

75. In September 2016, less than a month after defendant HUIZAR
had provided significant assistance to Carmel Partners and Executive
M, defendant HUIZAR asked GOLDMAN for contributions to PAC B from
GOLDMAN’s clients with projects pending in CD-14, including from
Executive M on behalf of Carmel Partners. GOLDMAN agreed to convey
the request to his clients.

76. On October 26, 2016, GOLDMAN received an email from
Executive M about the $25,000 PAC B contributions, which stated: “I
should have checks by tomorrow. All I need is the letter. Would it be
worth setting up a quick drink or coffee with JOSE [HUIZAR] when we
deliver? Could be good to talk big picture, etc.”

77. On or about October 27, 2016, defendant HUIZAR caused
Carmel Partners to send three checks from three separate entities,
payable to PAC B in the amount of $8,333.33 for a total of $25,000,
by U.S. Mail to the Carmel Partners office in Los Angeles,
California.

78. On October 31, 2016, GOLDMAN sent a text message to
ESPARZA, writing: “When can I get [Executive M] in with JOSE [HUIZAR]
to deliver the checks?”

79. Additional $25,000 Contribution to PAC B

80. On February 15, 2017, defendant HUIZAR met GOLDMAN for
lunch in downtown Los Angeles to discuss various projects. At the

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ATTACHMENT A/FACTUAL BASIS

lunch, defendant HUIZAR asked GOLDMAN for an additional $25,000
contribution to PAC B from Carmel Partners, which GOLDMAN agreed to
convey to Executive M.

81. On February 15, 2017, at a dinner at a Los Angeles
restaurant for which Carmel Partners paid approximately $1,778,
defendant HUIZAR requested and Executive M committed to paying
$25,000 to PAC B on behalf of Carmel Partners.

82. On or about March 2, 2017, defendant HUIZAR caused Carmel
Partners to send a check for $25,000 made payable to PAC B by U.S.
Mail to PAC B in Sacramento, California.

83. On March 20, 2017, GOLDMAN received an email from Executive
M, which stated: “Do you think we are in a more favored status with
JOSE [HUIZAR] compared to [another developer] ?”

84. On May 5, 2017, in a telephone call, defendant HUIZAR and
GOLDMAN discussed Carmel Partners’ contribution to PAC B at defendant
HUIZAR'’s direction. GOLDMAN stated: “When I told George [ESPARZA], I
said, look, my two things that I gotta protect you know ... [Carmel
Partners] and gotta protect you.”

(2) $25,000 Contribution and Additional $25,000
Commitment to PAC A

85. In or around January 2018, defendant HUIZAR spoke with
GOLDMAN regarding Mateo Project’s approval in the PLUM Committee and
City Council. Specifically, they discussed that Carmel Partners
wanted the City to approve Mateo Project with a 5% affordable housing
requirement, while defendant HUIZAR initially insisted on 11%
affordable housing. GOLDMAN told defendant HUIZAR that Executive M
was concerned he would suffer significant professional consequences,

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ATTACHMENT A/FACTUAL BASIS

including the loss of his job with Carmel Partners, if Mateo Project
was not approved, and that if Mateo Project did not obtain its
preferred affordable housing requirements it would threaten the
viability of the project altogether.

86. On January 8, 2018, defendant HUIZAR and GOLDMAN had a
discussion via text message regarding Mateo Project and Carmel
Partners’ willingness to contribute to their newly established PAC,
PAC A. Specifically, defendant HUIZAR wrote: “Let’s do the pac stuff
later this week. See u there at 6. What’s purpose of tonight’s
meeting? Are they [Carmel Partners] gonna help with pac?” GOLDMAN
replied: “[Executive M] wants to talk about their [Mateo Project] and
see if you’re comfortable with the height and affordability levels.”
Defendant HUIZAR answered: “Are they gonna help with pac?” GOLDMAN
replied: “I’m sure they will, however - as your friend - let’s
discuss this in a different text thread” in order to avoid
documenting defendant HUIZAR’s conditioning his official assistance
with Mateo Project on Carmel Partners’ financial support for PAC A.

87. On February 23, 2018, defendant HUIZAR and GOLDMAN had a
discussion via text message regarding PAC A. Specifically, GOLDMAN
wrote: “Are you checking the Confide App for texting on your iPhone?”
GOLDMAN further wrote: “I was going to text you about your meeting
with [PAC A’s attorney]. Wanted to see if we got any clarification.
Confide is good for texting because it is like Snap Chat...message
disappears.”

. 88. On March 1, 2018, defendant HUIZAR met with GOLDMAN and
discussed Carmel Partners’ contributions to PAC A. Specifically,
defendant HUIZAR asked for a $50,000 contribution to PAC A to be paid

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ATTACHMENT A/FACTUAL BASIS

 

in two installments, $25,000 as soon as possible and another $25,000
by the end of the year, after Mateo Project was approved. GOLDMAN
agreed to convey the request to Executive M.

89. On March 14, 2018, at approximately 4:00 p.m., defendant
HUILZAR met with GOLDMAN to discuss PAC A, including the fact that
Executive M agreed to have Carmel Partners contribute to PAC A.

90. On April 13, 2018, defendant HUIZAR sent an email to
GOLDMAN, attaching a document titled “[PAC A]” that included, among
other things, an entry for Carmel Partners for $50,000, with the
note: “B/4 June. 2 checks. 2 Entities.”

91. On May 8, 2018, defendant HUIZAR caused City Staffer A-2 to
advocate CD-14’s position and encourage the Planning Department
official to approve Mateo Project to allow the project to proceed to
a hearing before the City Planning Commission.

92. On or about June 13, 2018, defendant HUIZAR caused Carmel
Partners to send two checks from two separate entities, each made
payable to PAC A, in the amount of $12,500 each for a total of
$25,000, by U.S. Mail to the Carmel Partners office in Los Angeles,
California, around the same time that the City Planning Commission
approved Mateo Project, allowing it to move forward to a hearing
before the PLUM Committee and ultimately City Council.

(3) Additional $50,000 Commitment to PAC A in
Exchange for Defendant HUIZAR’s Help on Mateo
Project

93. On September 4, 2018, defendant HUIZAR met with GOLDMAN
regarding the labor union issue Carmel Partners was facing on Mateo
Project. During the meeting, GOLDMAN requested on behalf of

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ATTACHMENT A/FACTUAL BASIS

Executive M for defendant HUIZAR to vote against the labor union’s
appeal by approving Mateo Project in the PLUM Committee. Defendant
HUIZAR explained that voting against the labor union, which he
considered an ally, could have negative ramifications on HUIZAR
Relative 1’s campaign. Because of this risk, defendant HUIZAR told
GOLDMAN that if he were to vote against the labor union in the PLUM
Committee, then Carmel Partners would have to make it worthwhile,
which GOLDMAN understood to mean that defendant HUIZAR expected a
financial benefit from Carmel Partners in exchange for his efforts
with the labor union.

94. On September 6, 2018, GOLDMAN and Executive M met to
discuss Mateo Project and resolving its labor union issue. During
the meeting, GOLDMAN discussed with Executive M that they needed to
make it worthwhile for defendant HUIZAR’s intervention with the labor
union. Executive M and GOLDMAN agreed that Carmel Partners should
offer to make an additional $50,000 contribution to PAC A. Carmel
Partners had previously agreed to contribute $50,000, and paid the
first installment in June 2018. This additional $50,000 contribution
would bring the total agreed-upon contributions on behalf of Carmel
Partners to PAC A to $100,000 in exchange for defendant HUIZAR’s
assistance with Mateo Project.

95. On September 6, 2018, defendant HUIZAR and GOLDMAN met
outside a restaurant in Boyle Heights to discuss the new arrangement
with Executive M. At the meeting, GOLDMAN conveyed the offer of an
additional $50,000 contribution to PAC A, bringing the total to
$100,000, and defendant HUIZAR agreed to accept the contribution in
exchange for voting to approve Mateo Project over objections by the

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Gase 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 27 of 42 Page ID #:21677

ATTACHMENT A/FACTUAL BASIS

 

labor union. Defendant HUIZAR also requested a private meeting with
Executive M.

96. On September 10, 2018, in a text message, GOLDMAN asked
defendant HUIZAR: “Re: [Carmel Partners] & [Mateo Project]. You are
meeting with [Executive M] on 9-25 to negotiate public benefits
package. Could we target PLUM on 10-02 with the clear understanding
that the item gets pulled from agenda with no deal? [City Staffer A-
2] is waiting for direction from you before scheduling.”

97. On September 12, 2018, while defendant HUIZAR was
negotiating the additional financial benefit he sought from Executive
M and Carmel Partners, defendant HUIZAR used his official position as
PLUM Committee Chair to postpone the committee’s hearing on Mateo
Project to October 2, 2018, thereby causing the project to be delayed
until after he met with Executive M.

98. On September 28, 2018, defendant HUIZAR and Executive M met
to discuss defendant HUIZAR’s support for Mateo Project, its approval
in the PLUM Committee, and Carmel Partners’ support for the PAC to
benefit HUIZAR Relative 1’s campaign. During the same conversation,
Executive M offered to provide opposition research to defendant
HUIZAR on a former CD-14 staffer who planned to file a lawsuit
against defendant HUIZAR, and defendant HUIZAR accepted this offer.
As part of their negotiation to help Mateo Project, defendant HUIZAR
and Executive M also discussed Carmel Partners hiring defendant
HUIZAR after he left office.

99. On September 28, 2018, defendant HUIZAR sent a text message
to GOLDMAN, writing: “Good meeting with [Executive M]. He is willing
to help [HUIZAR Relative 1] committee. He will collect from

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ATTACHMENT A/FACTUAL BASIS

consultant/contractors. We didn’t discuss amount. Please enlist him
for your event and ask him to collect 15-20 k for your event.”

100. On October 2, 2018, defendant HUIZAR used his official
position as the PLUM Committee Chair to postpone his committee's
hearing on Mateo Project to October 16, 2018.

101. On October 11, 2018, defendant HUIZAR, Executive M,
Employee M, and GOLDMAN attended a fundraiser for HUIZAR Relative 1
hosted by GOLDMAN. At the fundraiser, Executive M provided defendant
HUIZAR the opposition research against the staffer he had promised as
part of their agreement for defendant HUIZAR to help Mateo Project.

102. Following the fundraiser, defendant HUIZAR asked Executive
M for additional opposition research on two other CD-14 employees
that had filed complaints against defendant HUIZAR.

103. On October 16, 2018, defendant HUIZAR voted to deny the
union appeal and to approve Mateo Project in the PLUM Committee,
including accepting certain modifications requested by Carmel
Partners. Specifically, the PLUM Committee accepted Carmel Partners’
preferred modifications to the affordable housing restrictions,
thereby undoing the more stringent requirements recommended by the
City Planning Commission. As a result of defendant HUIZAR's approval
and undoing the CPC recommendations, Carmel Partners obtained
significant reductions to Mateo Project’s affordable housing
requirements, from 11% “Very Low Income” units to 6% “Moderate
Income” units. Specifically, defendant HUIZAR’s approval of Carmel
Partners’ modifications decreased low-income individuals’ access to
the project while ensuring Carmel Partners obtained an estimated $14
million in net savings to Carmel Partners.

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ATTACHMENT A/FACTUAL BASIS

 

104. On October 31, 2018, defendant HUIZAR voted to approve
Mateo Project in City Council, which caused Executive M to write an
email to the owners of Carmel Partners and other employees: “Great
news, we just received final unanimous approval for [Mateo Project]
by city council. Although today is bit of a formality (PLUM is where
the discretion usually happens), this is the final step.” Executive
M highlighted the benefits Carmel Partners was able to secure in PLUM
from defendant HUIZAR, writing: “our obligations related to rent
[affordable housing] restrictions and union involvement are minimal
compared to other future projects in the area.” Executive M also
touted “the entitlement of the tallest building in the arts district
by 3 times (35 stories) in a wealthy opinionated hipster community”
as a “truly amazing” accomplishment.

(e) Businessperson A Schemes
(1) Financial Benefits for Business Opportunities
with Developers

105. On or about at least the following dates, in exchange for
defendant HUIZAR using his official position to make introductions to
developers with projects pending before defendant HUIZAR and to
advocate that such developers use Businessperson A’s business to
enhance Businessperson A’s financial prospects, defendant HUIZAR
accepted financial benefits from Businessperson A, including cash,
hotel rooms, prostitution/escort services, meals, and other gifts in

the following approximate amounts:

 

06/13/2016 Suit and Shirts $3,000

 

11/18/2016 Meal $1,210.88

 

 

 

 

 

DEFT. INITIALS
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Gase 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 30 of 42 Page ID #:21680

ATTACHMENT A/FACTUAL BASIS

 
   

Golf $1,869.03

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

11/18/2016
January 2017 Cash $10,000
01/13/2017 Hotel Accommodation $286.13
01/19/2017 Hotel Accommodation $483.36
01/30/2017 Meal $539.57
February 2017 Cash $10,000
02/20/2017 Meal $2,594.02
March 2017 Cash $10,000
03/15/2017 Hotel Accommodation $561.10
03/25/2017 Resort Accommodation $298.36
03/25/2017 nen omnodation $432.75
April 2017 Cash $10,000
04/06/2017 Hotel Accommodation $311.12
04/24/2017 Hotel Accommodation $423.58
04/28/2017 Hotel Accommodation $572.61
May 2017 Cash $10,000
05/03/2017 Hotel Accommodation $549.34
05/09/2017 Hotel Accommodation $381.64
05/15/2017 Hotel Accommodation $968.87
05/17/2017 Hotel Accommodation $346.75
05/19/2017 Hotel Accommodation $273.64
05/22/2017 Hotel Accommodation $335.66
05/24/2017 Hotel Accommodation $810.88
05/26/2017 Meal $4,950.16
05/30/2017 Hotel Accommodation $519.56
June 2017 Cash $10,000
06/02/2017 Hotel Accommodation $419.02
06/05/2017 Hotel Accommodation $79.75
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ATTACHMENT A/FACTUAL BASIS

 

06/08/2017 Hotel Accommodation $475.20

 

 

 

 

 

 

 

 

06/12/2017 Statue $920.00
06/12/2017 Shoes $449.32
06/12/2017 Suits $10,451.75
06/19/2017 Hotel Accommodation $1,513.49
06/26/2017 Hotel Accommodation $322.33

 
     

 

 

(2) $25,000 Contribution to PAC B in Exchange for
City Resolution
160. On or about March 11, 2018, defendant HUIZAR met with
Businessperson A, who, unbeknownst to defendant HUIZAR, was then
acting at the direction of the FBI, on a golf course in the City.
Defendant HUIZAR asked Businessperson A to contribute to HUIZAR

Relative 1’s campaign. Businessperson A stated that he would support

the campaign, but that he needed help from defendant HUIZAR to

provide an official resolution from the City recognizing
Businessperson A’s business. Defendant HUIZAR agreed to provide a
City resolution and asked Businessperson A to contribute $25,000 to
HUIZAR Relative 1's campaign.

161. On or about March 23, 2018, defendant HUIZAR caused
Businessperson A to send a check in the amount of $25,000 made
payable to PAC B by U.S. Mail from Los Angeles County to PAC B in
Sacramento, California, intended to benefit HUIZAR Relative i’s
campaign.

162. On or about April 10, 2018, defendant HUIZAR caused the CD-
14 office to issue a City resolution in the form of a certificate of

DEFT. INITIALS
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Gase 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 32 of 42 Page|

 

D #:21682

ATTACHMENT A/FACTUAL BASIS

recognition signed by all City Council members, recognizing
Businessperson A to promote Businessperson A’s business and
reputation in the City.

163. On or about May 31, 2018, defendant HUIZAR met with
Businessperson A, who was acting at the direction of the FBI, at
defendant HUIZAR’s City Hall office. As promised when Businessperson
A agreed to contribute $25,000 to HUIZAR Relative 1’s campaign,
defendant HUIZAR delivered the City resolution recognizing
Businessperson A. At this meeting, defendant HUIZAR confirmed the
PAC received Businessperson A’s $25,000 contribution, adding that
“the people who have the PAC, they know ... you’re interested in
helping [HUIZAR Relative 1]. So it’s sitting there for the right
time.”

(3) Cash Payment for Pressure on Developer to Hire
Businessperson A

164. On August 25, 2018, defendant HUIZAR met with
Businessperson A, who was acting at the direction of the FBI, ata
golf course in the City. During the meeting, defendant HUIZAR asked
Businessperson A for additional contributions to benefit HUIZAR
Relative 1’s campaign. During the same conversation, defendant
HUIZAR stated: “I’1l go down a list of people that I could start
introducing you to ... people ... that I know need my help.... Like
for example, right now, [Carmel Partners] needs me.... So I could re-
introduce them to you.” Businessperson A asked, regarding these
meetings, whether HUIZAR could “push” the developers to hire
Businessperson A. Defendant HUIZAR responded: “Yeah ... for right
now they feel pressure, but they need me.”

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Gase 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 33 of 42 Page ID #:21683

ATTACHMENT A/FACTUAL BASIS

 

165. On September 24, 2018, defendant HUIZAR met with
Businessperson A, who was acting at the direction of the FBI, ata
restaurant in the City. During the meeting, defendant HUIZAR
accepted $15,000 in cash from Businessperson A, who provided the cash
concealed in an envelope, which defendant HUIZAR then covered with a
napkin. During this meeting, defendant HUIZAR stated that he had a
meeting with Carmel Partners the following day and that Carmel
Partners’ project was coming up for approval soon. Defendant HUIZAR
stated that Carmel Partners “need[s] a lot of help from my office,”
by which defendant HUIZAR meant that Carmel Partners would feel
pressure to hire Businessperson A at defendant HUIZAR'’s request
because Carmel Partners needed defendant HUIZAR to perform favorable
official acts in support of Carmel Partners’ project and not take
adverse official acts in opposition to the project. Defendant HUIZAR
assured Businessperson A that he would’make sure Carmel Partners
scheduled a meeting with Businessperson A. At the end of the
meeting, after Businessperson A had departed, defendant HUIZAR
counted the cash inside the envelope.

(£) Additional Pay-to-Play Conduct
(1) CD-14 Developers/Proxies’ PAC Contributions to
Benefit HUIZAR Relative 1’s Campaign and CD-14
Enterprise

166. In or around May 2017, defendant HUIZAR, ESPARZA, GOLDMAN,
and HUIZAR Associate 3 agreed to establish a PAC that publicly was
purported to benefit a broad array of candidates and causes but was,
in fact, primarily intended to benefit HUIZAR Relative 1’s campaign
to succeed defendant HUIZAR as Councilmember for CD-14. Defendant

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qase 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 34 of 42 Page ID #:21684

ATTACHMENT A/FACTUAL BASIS

HUIZAR agreed with ESPARZA, GOLDMAN, and HUIZAR Associate 3 to
pressure developers with projects in CD-14 to contribute to the PAC
in exchange for favorable treatment and to avoid adverse action
against their projects in the PLUM Committee, Economic Development
Committee, and City Council.

167. On May 10, 2017, in a telephone call, ESPARZA and CHIANG
discussed how defendant HUIZAR was using a PAC to obtain additional
financial benefits from developers in exchange for not taking adverse
action against them. Specifically, ESPARZA told CHIANG: “ [Defendant
HUIZAR’s] approach is that he’s going to um, strong arm everyone
to the PAC. [Hazens], [Company F]. ‘This is what I want right now.
This is my [relative], this is what we are doing.’ So his idea in his
mind is that okay, people are going to support us because they don’t
want people to fuck with projects, you know.”

168. On May 11, 2017, in a telephone call, ESPARZA and Executive
Director E discussed punishing a developer who was not providing
financial benefits to defendant HUIZAR by withholding approvals for
the developer's project. Specifically, ESPARZA said: “[Company G]
has not come through with any other commitments to us, to you, so you
know, why even be helpful to them, you know, that’s my thing... So
I’m going to tell [defendant HUIZAR] that I spoke to you and let’s
just continue to ignore them, you know. We are not going to help
them.” Executive Director E then added: “And even [CHAN] doesn’t
want you guys to work with [Company G] .”

169. On June 22, 2017, defendant HUIZAR met with ESPARZA,
GOLDMAN, and Justin KIM and discussed establishing a PAC to raise
money for HUIZAR Relative 1’s campaign. During this meeting,

DEFT. INITIALS
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Gase 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 35 of 42 Page ID #:21685

ATTACHMENT A/FACTUAL BASIS

 

defendant HUIZAR suggested having KIM find an associate to serve as
the “face” of the PAC to disguise defendant HUIZAR’s involvement and
the PAC’s connection to CD-14.

170. On September 14, 2017, defendant HUIZAR and ESPARZA had a
text message conversation regarding compiling a list of donors to
target for fundraising for HUIZAR Relative 1’s campaign, which they
referred to as the “Executive 2” strategy meetings, focusing on
developers with upcoming hearings before the PLUM Committee, which
defendant HUIZAR chaired. Defendant HUIZAR instructed ESPARZA via
text message: “Please get the [City Staffer A-2] list that he gave u
about projects going to cpc and plum and let’s discuss me and u at
every Thursday exec.#2 meeting.”

171. In October 2017, defendant HUIZAR and ESPARZA had
conversations about targeting developers with projects pending before
committees on which defendant HUIZAR sat in order to obtain financial
benefits from them, including contribution to PACs to benefit HUIZAR
Relative 1’s campaign before taking favorable actions on the projects
in the Economic Development and PLUM Committees.

172. On December 4, 2017, defendant HUIZAR created a spreadsheet
titled “Initial Commitments to PAC,” listing companies, consultants,
and contribution amounts, totaling $500,000. Several of those listed
had pending projects in defendant HUIZAR’s district or before a

committee that defendant HUIZAR chaired, including the following:

 

 

 

 

Company Commitment. .| Notes

[Company H] $25,000 [Lobbyist C]
[Company I] $25,000 [Lobbyist T]
[Company J] $50,000 [Lobbyist J]

 

 

 

 

 

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Gase 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 36 of 42 Page ID #:21686

ATTACHMENT A/FACTUAL BASIS

 

173. On March 26, 2018, defendant HUIZAR caused Company H to
make a contribution of $10,000 to PAC B.
174. On June 19, 2018, defendant HUIZAR caused Company J to make
a contribution of $25,000 to PAC A.
(2) CD-14 Developers/Proxies’ Contributions to
Defendant HUIZAR Campaigns and Officeholder
Accounts
175. On May 18, 2015, at defendant HUIZAR’s direction, ESPARZA
created a document titled “HUIZAR Debt Finance Plan,” which
documented defendant HUIZAR’s solicitation efforts of contributions
from developers, consultants, and allies towards defendant HUIZAR’'s
2015 re-election campaign debt, including many developers and
consultants who had projects in CD-14 and/or were going through the
City approval process. The plan included: (1) $40,000 from Justin
Kim; (2) $20,000 from HUANG; (3) $20,000 from Company G through
Executive Director E; (4) $10,000 from Hazens; and (5) $10,000 from
CHAN.
(3) CD-14 Developers/Proxies’ Contributions to School
that Employed HUIZAR Relative 1 as a Fundraiser
176. Beginning in or around March 2015, at defendant HUIZAR's
direction, ESPARZA solicited donations to a high school’s annual gala
event from developers and consultants with projects pending in
defendant HUIZAR'’s district.
177. On or around September 28, 2015, defendant HUIZAR attended
the high school’s annual gala, which, at defendant HUIZAR’s request,

was sponsored by the following companies, among others, in the

DEFT. INITIALS
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ATTACHMENT A/FACTUAL BASIS

 

following amounts: (1) $25,000 by Company L; (2) $10,000 by Hazens;
(3) $10,000 by Company F; and (4) $5,000 by Company K.
(4) Steering CD-14 Developers to Preferred Firms

178. In or around 2012, defendant HUIZAR pressured Developer N
to hire HUIZAR Associate 3 as a consultant on Developer N’s
development project in CD-14. Developer N complied with the request.

179. In or around May 2013, defendant HUIZAR organized a dinner
between Developer N, HUIZAR Associate 3, and a partner of Law Firm A,
which paid HUIZAR Relative 1 a bi-weekly salary of $2,500. Developer
N understood that defendant HUIZAR was asking Developer N to hire Law
Firm A because it paid HUIZAR Relative 1 and in exchange for
defendant HUIZAR’s support on the development project pending in CD-
14.

180. In or around March 2014, defendant HUIZAR organized a
meeting with Hazens and HUIZAR Associate 1, and encouraged Hazens to
hire HUIZAR Associate 1 as a consultant on the Luxe Hotel Project.

181. On February 25, 2016, defendant HUIZAR instructed ESPARZA
by text message: “Please work it out with George [CHIANG] ... to set
up a meeting with [Developer K] and [Law Firm A partner] ... Let them
know that [HUIZAR Relative 1] works at [Law Firm A] and we want to
make introduction to see if [the company] ever needs legal defense.
Please keep me posted.”

182. In or around 2017, defendant HUIZAR caused Company O, which
had projects pending in CD-14 and before defendant HUIZAR’s
committees, to hire HUIZAR Associate 3 as a consultant with a monthly

retainer of $10,000.

DEFT. INITIALS
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Case 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 38 of 42 Page ID #:21688 |

ATTACHMENT A/FACTUAL BASIS

1 (g) Defendant’s Concealment of Illicit Benefits

2 (1) Transporting of Cash into United States and

3 Structuring to Avoiding Reporting Requirements
4 183. On January 1, 2016, defendant HUIZAR and ESPARZA traveled

5 with HUANG and Executive Director E to Australia, where defendant
6 || HUIZAR and ESPARZA accepted financial benefits from HUANG, including
7 lla $10,980 commercial airline ticket for defendant HUIZAR, private jet
8 || flights for ESPARZA, hotels, meals, alcohol, and other expenses. In
9 lladdition, defendant HUIZAR and ESPARZA accepted casino gambling chips
10 || from HUANG, which defendant HUIZAR and ESPARZA cashed out in

11 || Australian dollars.

12 184. After the Australia trip, defendant HUIZAR and ESPARZA

13 || discussed evading bank reporting requirements by converting

14 ||\Australian dollars to American dollars.

15 185. On February 9, 2016, at defendant HUIZAR’s direction,

16 || BSPARZA exchanged 10,000 Australian dollars into American dollars.

 

17 || ESPARZA then reported to defendant HUIZAR in a text message: “I

18 ||exchanged 10k today. Will do another tomorrow. Tf it’s under 10k,

19 || they will not report.” Defendant HUIZAR then told ESPARZA to ask for
20 |la better exchange rate the next day.

21 186. On February 10, 2016, at defendant HUIZAR’s direction,

22 || ESPARZA exchanged another 10,000 Australian dollars into American

23 dollars.

24 187. On February 14, 2016, defendant HUIZAR asked ESPARZA via
25 |ltext messages: “(1). U back? How did chairman [HUANG] do? (2). For
26 ||last batch to exchange, I think it is 12,800 (correct?). ...see if u

27 ||can bargain with either of two places in dtla for more than .68. The

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ase 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 39 of 42 Page ID #:21689

ATTACHMENT A/FACTUAL BASIS

Australian dollar has gotten stronger and is close to .72 official
exchange.” ESPARZA responded: “I came home. Chairman [HUANG] is up
2mil. Ok. I’1ll see if I can get close to .72.”

188. On February 17, 2016, at defendant HUIZAR’s direction,
ESPARZA exchanged another 12,800 Australian dollars into American
dollars and confirmed the exchange to defendant HUIZAR by text
message: “I was able to get you .69 exchange rate” and that “chairman
[HUANG] won 3 mil.” Defendant HUIZAR responded: “Wow. Wow. Wow.”

(2) Money Laundering Through Family Members

189. From in or about July 2013 through in or about November
2017, on approximately 45 separate occasions, in order to conceal and
disguise the nature, source, ownership, and control of proceeds from
defendant HUIZAR’s pay-to-play scheme, defendant HUIZAR caused HUIZAR
Relative 2 to deposit cash into HUIZAR Relative 2’s checking account
and thereafter pay defendant HUIZAR directly or indirectly a total of
approximately $130,346.

190. From in or about November 2013 through in or about March
2017, on at least 28 separate occasions, in order to conceal and
disguise the nature, source, ownership, and control of proceeds from
defendant HUIZAR’s pay-to-play scheme, defendant HUIZAR provided cash
to HUIZAR Relative 3 and caused HUIZAR Relative 3 to pay defendant
HUIZAR directly or indirectly a total of approximately $156,993.

191. From in or about April 2016 through in or about June 2017,
over at least 17 separate occasions, in order to conceal and disguise
the nature, source, ownership, and control of proceeds from defendant
HULZAR’s pay-to-play scheme, defendant HUIZAR caused HUIZAR Relative
1 to deposit cash into HUIZAR Relative 1’s checking account, and

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ase 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 40 of 42 Page ID #:21690

 

 

ATTACHMENT A/FACTUAL BASIS

 

thereafter pay for household expenses for a total of approximately
$7,800.
(h) Additional Concealment of Pay-to-Play Scheme
(1) Defendant HUIZAR’s Failure to Report on Forms 700
and Tax Returns
192. On or about the following dates, in an effort to conceal
the benefits defendant HUIZAR received from developers as part of the
pay-to-play scheme, defendant HUIZAR failed to report any of the
financial benefits discussed above on his Forms 700 or tax returns
for the calendar years 2014, 2015, 2016, and 2017.
(i) Total Bribes
As part of defendant HUIZAR’s pay-to-play scheme operated
through the CD-14 enterprise, defendant HUIZAR obtained or sought to
be obtain, directly and indirectly, at least $1,857,679 in bribe
payments.

Cc. Defendant HUIZAR’s Obstructionist Conduct

 

(a) Defendant HUIZAR’s Witness Tampering

193. On June 20, 2017, after ESPARZA told defendant HUIZAR that
he was interviewed by the FBI and defendant HUIZAR asked ESPARZA
about the FBI’s questions, and whether the FBI asked questions about
Businessperson A and HUANG, defendant HUIZAR instructed ESPARZA not
to tell anyone that ESPARZA disclosed the content of his FBI
interview to defendant HUIZAR.

194. On December 28, 2017, in a conversation in defendant
HUILZAR’s private bathroom in City Hall, after ESPARZA referred to his
FBI interviews the prior summer and stated that he did everything to
make sure defendant HUIZAR was protected, defendant HUIZAR stated:

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ase 2:20-cr-00326-JEW Document 910-1 Filed 01/19/23 Page 41 of 42 Page ID #:21691
ATTACHMENT A/FACTUAL BASIS

“Yeah, and that’s why I said we are both in this together.... We’re
in it together.”

195, On October 27, 2018, defendant HUIZAR instructed
Businessperson A not to disclose incriminating information to the
FBI, including instructing Businessperson A not to mention anything
about parties or “dessert,” meaning defendant HUIZAR’s use of
escort/prostitution services, which Businessperson A had provided at
parties Businessperson A hosted.

(b) Defendant HUIZAR's False Statements to the USAO/FBI

196. On April 10, 2019, during an interview with the U.g.
Attorney’s Office and FBI during which defendant HUIZAR was advised,
in the presence of counsel, that lying to the government was a crime,
defendant HUIZAR falsely stated that: (a) he told ESPARZA that the
hundreds of thousands of dollars cash payment KIM provided to ESPARZA
was “yours, I do not want it”; and (b) he did not discuss ESPARZA
giving defendant HUIZAR the money from KIM in April 2018.

D. Defendant HUIZAR’s 2017 Tax Evasion

197. From in or about January 1, 2017 through in ox about
December 31, 2017, defendant HUIZAR willfully attempted to evade and
defeat income tax due and owing by him and his spouse to the United
States of America, for the calendar 2017, by causing to be prepared,
and by signing and causing to be signed, a false and fraudulent U.g.
Individual Income Tax Return, Form 1040, which was submitted to the
Internal Revenue Service. On that tax return, defendant HUIZAR
falsely reported and caused to be reported his and his spouse’s joint
taxable income, by omitting approximately $60,000 cash that defendant
HUIZAR accepted from Businessperson A as retainer fees. Defendant

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Case 2:20-cr-00326-JFW Document 910-1 Filed 01/19/23 Page 42 of 42 Page ID #:21692

violated that duty.

DEFT. INITIALS

 

 

ATTACHMENT A/FACTUAL BASIS

 

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HUIZAR knew that the federal tax law imposed a duty on defendant to

accurately report his income and intentionally and voluntarily

 

 

 
